
Per Curiam.
Respondent, who was admitted to practice by this Court in 1989, was suspended by this Court’s order dated June 15, 2000 for failure to comply with the attorney registration requirements of Judiciary Law § 468-a (273 AD2d 600 [2000])..
Respondent now requests reinstatement on the ground that she has complied with the attorney registration requirements of Judiciary Law § 468-a and the Rules of the Chief Administrator *691of the Courts (see 22 NYCRR part 118). Petitioner does not object to respondent’s application.
Respondent’s application is granted and she is ordered reinstated, effective immediately.
Cardona, P.J., Mercure, Crew III, Peters and Spain, JJ., concur. Ordered that respondent’s application is granted; and it is further ordered that respondent is reinstated as an attorney and counselor-at-law in the State of New York, effective immediately.
